Case 1:20-cv-04160-JGK-OTW Document 93-1 Filed 07/07/22 Page 1 of 10




              Pavese Declaration
                  Exhibit 1
Case 1:20-cv-04160-JGK-OTW Document 93-1 Filed 07/07/22 Page 2 of 10
Case 1:20-cv-04160-JGK-OTW Document 93-1 Filed 07/07/22 Page 3 of 10
Case 1:20-cv-04160-JGK-OTW Document 93-1 Filed 07/07/22 Page 4 of 10
Case 1:20-cv-04160-JGK-OTW Document 93-1 Filed 07/07/22 Page 5 of 10
Case 1:20-cv-04160-JGK-OTW Document 93-1 Filed 07/07/22 Page 6 of 10
Case 1:20-cv-04160-JGK-OTW Document 93-1 Filed 07/07/22 Page 7 of 10
Case 1:20-cv-04160-JGK-OTW Document 93-1 Filed 07/07/22 Page 8 of 10
Case 1:20-cv-04160-JGK-OTW Document 93-1 Filed 07/07/22 Page 9 of 10
Case 1:20-cv-04160-JGK-OTW Document 93-1 Filed 07/07/22 Page 10 of 10
